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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

   REPLY IN SUPPORT OF PLAINTIFF TYLER MAGILL’S MOTION TO WITHDRAW
        AND VOLUNTARILY DISMISS HIS CLAIMS WITHOUT PREJUDICE
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         Plaintiff Tyler Magill respectfully submits this reply in support of his motion to withdraw

  and voluntarily dismiss his claims without prejudice pursuant to Federal Rule of Civil Procedure

  41(a)(2). (ECF No. 405.)

         Defendants, many of whom who have yet to produce a single page of discovery despite

  numerous orders from this Court, claim that Mr. Magill should be required to produce medical

  records before he is permitted to withdraw from the case. There is no support in law or logic for

  the proposition that a party may only withdraw from a matter after he provides his adversary certain

  documents. Moreover, a party’s medical records are relevant to support a claim for damages.

  Mr. Magill, who seeks to withdraw from the case entirely, will no longer be seeking damages. To

  claim that Defendants are nonetheless entitled to peruse those records for some other unspecified

  purpose is nonsensical. Mr. Magill does not seek to evade producing medical records; he seeks to

  withdraw from the case all together. Because Defendants have failed to articulate even a plausible

  claim of prejudice from Mr. Magill’s withdrawal, we ask that his motion to withdraw be granted.




  Dated: February 26, 2019                             Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

         I hereby certify that on February 26, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

      Justin Saunders Gravatt                              Lisa M. Lorish
      David L. Hauck                                       Federal Public Defenders Office
      David L. Campbell                                    Western District of Virginia - Charlottesville
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      Counsel for Defendant Richard Spencer




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          Although Plaintiffs understand that Mssrs. Kolenich and Woodard have terminated their representation of
  Defendants Nationalist Front and National Socialist Movement, a proper substitution of counsel has yet to be
  approved by the Court.
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          I further hereby certify that on February 26, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


   Loyal White Knights of the Ku Klux Klan           Moonbase Holdings, LLC
   a/k/a : Loyal White Knights Church of             c/o Andrew Anglin
   the Invisible Empire, Inc.                        P.O. Box 208
   c/o Chris and Amanda Barker                       Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379


   Andrew Anglin                                     East Coast Knights of the Ku Klux Klan
   P.O. Box 208                                      a/k/a East Coast Knights of the
   Worthington, OH 43085                             True Invisible Empire
                                                     26 South Pine St.
                                                     Red Lion, PA 17356

   Fraternal Order of the Alt-Knights                Augustus Sol Invictus
   c/o Kyle Chapman                                  9823 4th Avenue
   52 Lycett Circle                                  Orlando, FL 32824
   Daly City, CA 94015




          I further hereby certify that on February 26, 2019, I also served the following non-ECF
   participants, via electronic mail, as follows:


   Elliot Kline                                      Matthew Heimbach
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  Jeff Schoep,
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